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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
VS.                                               )              CASE NO.: 3:12-CR-320-N (06)
                                                  )
JUAN C. GARCIA BANUELOS                           )


               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within

fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea

of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea

of guilty, and Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with

the Court's scheduling order.

       SIGNED this 11th day of October, 2013.



                                                      ____________________________________
                                                               DAVID C. GODBEY
                                                        UNITED STATES DISTRICT JUDGE
